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ProSe 1 (Rev. 12/16)Compiaint fora Civil Case
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                                      United States District Court
                                                                      for the                                 .IAN 1 2 2021
                                                                    District of
                                                                                                         .'-.yiMraaUlTOA
     1, 1 .               /                     ^            ffUlM Division                                 V.:BK(}fCO\}Kt
     Wliin^ffvnO-C-
     y^ftn-U-^Cfur/n^ £/n<^ ■                                           )       Case No.


     Jgijdtm (jvthci-int    Platnuff(s)
                                                                                            (to befilled in by the Clerk70^ce)


(Write thefull name ofeach plaintiffwho isfling this complaint.
Ifthe names ofall the plaintiffs cannotft in the space above,
                                                                                Jury Trial: (check one) u Yes             No
please write "see attached" in the space and attach an additional
page with thefull list ofnames.)


b^p CtHtuonr'&f fdininiTir'^i^^n
                       R^Ct^tni THhcd
  yriie theJuti name ofeach defendant                                                            '<^td I ccK I,
names ofall the defendants cannotft in the space above, please
write "see attached" in the space and attach an additionalpage                             iiftShfamn(^ Pdlicy
with thefull list ofnames.)



                                                COMPLAINT FOR A CIVIL CASE


I.        The Parties to This Complaint
          A         The PlaintifT(s)

                    Provide the information below for each plaintiff named in the complaint. Attach additional pages if
                    needed.

                               Name
                                                                    TjuAMn                                        hiaC/Cj?
                               Street Address
                                                                       ^ -pf CrruWAkiyy/aot)
                              City and County
                               State and Zip Code
                               Telephone Number                                       uii-
                               E-mail Address



          B.        The Defendant(s)

                    Provide the information below for each defendant named in the complaint, whether the defendant is an
                    individual, a government agency, an organization, or a corporation. For an individual defendant,
                    include the person's job or title (ifknown). Attach additional pages if needed.


                                                                            ORIGINAL                                                Page 1 of S


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                     Defendant No. 1

                                Name

                                Job or Title (ifknown)           \\(i(Mr                    Bi m
                                Street Address

                                City and County
                                                               -faTf- tMAirdiiAr/i CTOf.MmnT
                                State and Zip Code
                                Telephone Number                                 rsfioifn^
                                E-mail Address (ifknown)                        () CL              -yji/
                     Defendant No. 2

                               Name                                    .Ce Curify Adh^hl'Sk'cxiibn
                                Job or Title (ifknown)                 "ior VaWcifi
                                                                   irt ffor mtnc(fi         Kftupnahd
                                Street Address

                                City and County
                                                                   .^lAiTeir.nSo w;
                                                                             BLVD •
                                State and Zip Code         i/l I?) (iMO 1      ritYRluia-fmhAirCMO
                                Telephone Number                                        3           01235"
                                E-mail Address (ifknown)              yww-(IM

                     Defendant No. 3

                                Name                         6i)V- of 6M>n fi't-firewrf/t>i/i4r
                                Job or Title (ifknown)            V\\).tfOr PfflilA GZHT
                                Street Address

                                City and County
                                                               EiHiOSmOK mit
                                                                                              0
                                State and Zip Code
                                Telephone Number
                                E-mail Address (ifknown)                    W\r^/\n/MnCO'^

                     Defendant No.4

                                Name

                                Job or Title (ifknown)     yuchur
                                                                         I IhPimn^i/3ii\/-Plar^
                                                                      aiA^-hMMC/C
                                Street Address

                                City and County
                                State and Zip Code
                                Telephone Number                            ZTTTWrM/
                                E-mail Address (ifknown)



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IL        Basis for Jurisdiction


          Federal courts are courts of limited jurisdiction (limited power). Generally, only two types of cases can be
          heard in federal court: cases involving a federal question and cases involving diversity of citizenship of the
          parties. Under 28 U.S.C. § 1331, a case arising under the United States Constitution or federal laws or treaties
          is a federal question case. Under 28 U.S.C. § 1332, a case in which a citizen ofone State sues a citizen of
          another State or nation and the amount at stake is more than $75,000 is a diversity ofcitizenship case. In a
          diversity ofcitizenship case, no defendant may be a citizen ofthe same State as any plaintiff.

          What is the basis for federal coiuljurisdiction? fcApafe all that apply)
                 nFederal question                              ^ Diversity ofcitizenship

          Fill out the paragraphs in this section that apply to this case.

          A.         If the Basis for Jurisdiction Is a Federal Question

                     List the specific federal statutes, federal treaties, and/or provisions ofthe United States Constitution that
                     are at issue in this case.


                                                  no                          ho                                 _
                                                                 nbJuricJicti'in ,vo(kK
          B.         If the Basis for Jurisdiction Is Diversity of Citizenship

                     1.         The Plaintiff(s)

                                a.        It the plaintiff
                                          If     plaintitl is an imuudual
                                                                 ijidbddual        /O    f                t n j
                                          The plaintiff,                                                          a citiz
                                                                (yiMh'h^n D C. "
                                b.        If the plaintiff is a corpefation         /^       /        >^1 /7 1
                                           The plaintiff, (name)cWucliIrLcimthhe                               ,is incorporated
                                           under the laws ofthe State of(name)
                                           and has its principaljplace ofbusiness in the State of(name)
                                                                  thcjwn D'C/Qiua^
                                (Ifmore than one plaintiffis named in the complaint, attach an additionalpage providing the
                                same informationfor each additionalplaintiff.)

                                The Defendant(s)

                                                                     vidual
                                           Ifthe defendant is an individual                                                   j
                                           The defendant, (name)                                                     citizen o?
                                           the State of(name)                                              . Or is a citizen of
                                          (foreign nation)         0-                            ~
                                                                                                                            Page 3 of 5


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                                b.        Ifthe defendant is a corporation
                                          The defendant, (name)                                            'is incorporated under
                                          the laws ofthe State of(name)                                             ,and has its
                                          principal place of business in the State of(name)        Q)                               •
                                          Or is incorporated under the laws of(foreign nation)
                                          and has its principal place of business in (name)

                               (Ifmore than one defendant is named in the complaint, attach an additionalpage providing the
                               same informationfor each additional defendant.)

                     3.         The Amount in Controversy

                                The amount in controversy-the amount the plaintiff claims the defendant owes or the amount at
                                stake-is more than $75,000, not counting interest and costs ofcourt, because (explain):


                                                    Did mtCair^plu

m.        statement of Claim


          Write a short and plain statement ofthe claim. Do not make legal arguments. State as briefly as possible the
          facts showing that each plaintiff is entitled to the damages or other relief sought. State how each defendant was
          involved and what each defendant did that caused the plaintiff harm or violated the plaintiffs rights, including
          the dates and places ofthat involvement or conduct If more than one claim is asserted, number each claim and
           write a short and plain statement of each claim in a separate paragraph. Attach additional pages if needed.
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                                                                                                                          "to
                                                   cifd n^ot ProCc^ ■^.f^phiAce^fappiK

IV.


          State briefly and precisely what damages or other relief the plaintiff asks the court to order. Do not make legal
          arguments. Include any basis for claiming that the wrongs alleged are continuing at the present time. Include
           the amounts of any actual damages claimed for the acts alleged and the basis for these amounts. Include any
           punitive or exemplary damages claimed, the amounts, and the reasons you claim you are entitled to actual or
           punitive money damages.

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          Certification and Closing                     P^O       Q-^p}\CC^'^ QPi                                        ^cj.
          Under Federal Rule of Civil Procedure 11, by signing below, 1 certify to the best of my knowledge,information,
          and beliefthat this complaint:(1)is not being presented for an improper purpose, such as to harass, cause
          unnecessaiy delay, or needlessly increase the cost oflitigation;(2)is supported by existing law or by a
          nonfnvolous argument for extending, modifying, or reversing existing law;(3)the factual contentions have
          evidentiary support or, if specifically so identified, will likely have evidentiary support after a reasonable
          opportunity for further investigation or discovery; and(4)the complaint otherwise complies with the
          requirements of Rule 11.

          A.         For Parties Without an Attorney

                     I agree to provide the Clerk's Office with any changes to my address where case-related papers may be
                     served. I understand that my failure to keep a current address on file with the Clerk's Office may result
                     in the dismissal of my case.

                     Date ofsigning:               Diforpo
                     Signature ofPlaintiff
                     Printed Name of Plaintiff


          B,         For Attorneys


                     Date ofsigning:


                     Signature of Attorney
                     Printed Name of Attorney
                     Bar Number

                      Name of Law Firm

                      Street Address

                      State and Zip Code
                      Telephone Number
                      E-mail Address




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